

Zelka H.V.A.C. Maintenance Solutions, Inc. v G.M. Crisalli &amp; Assoc., Inc. (2025 NY Slip Op 02469)





Zelka H.V.A.C. Maintenance Solutions, Inc. v G.M. Crisalli &amp; Assoc., Inc.


2025 NY Slip Op 02469


Decided on April 25, 2025


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 25, 2025
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: LINDLEY, J.P., CURRAN, OGDEN, AND HANNAH, JJ.


215 CA 23-01963

[*1]ZELKA H..A.C. MAINTENANCE SOLUTIONS, INC., PLAINTIFF-APPELLANT, V
vG.M. CRISALLI &amp; ASSOCIATES, INC., CHRISTOPHER COFFEE, DEFENDANTS-RESPONDENTS, ET AL., DEFENDANTS. 






DECANDIDO &amp; ASACHI, PLLC, FOREST HILLS (WILLIAM DECANDIDO OF COUNSEL), FOR PLAINTIFF-APPELLANT. 
SHEATS &amp; BAILEY, PLLC, LIVERPOOL (EDWARD J. SHEATS OF COUNSEL), FOR DEFENDANTS-RESPONDENTS. 


	Appeal from an order of the Supreme Court, Steuben County (Jason L. Cook, J.), entered October 17, 2023. The order granted the motion of defendants G.M. Crisalli &amp; Associates, Inc., Christopher Coffee, and United States Fire Insurance Company to, among other things, dismiss the complaint. 
Now, upon reading and filing the stipulation of discontinuance signed by the attorneys for the parties on March 20, 2025,
It is hereby ORDERED that said appeal is unanimously dismissed without costs upon stipulation.
Entered: April 25, 2025
Ann Dillon Flynn
Clerk of the Court








